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     Federal Defender
 2   DAVID M. PORTER, Bar #127024
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 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          No. 1:05-cr-00112-AWI-1

12                      Plaintiff,                      REQUEST TO EXTEND DEADLINE
                                                        FOR FILING RESPONSE; ORDER
13          v.

14   CERVANDO ALVAREZ,
                                                        Judge: Honorable ANTHONY W. ISHII
15                      Defendant.

16          Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender David M. Porter,
17   hereby requests that the deadline for filing a response to the Court’s February 26, 2015 order be
18   extended to April 27, 2015. The undersigned is awaiting response from Mr. Alvarez.
19   Dated: March 30, 2015
20                                                        Respectfully submitted,
21                                                        HEATHER E. WILLIAMS
                                                          Federal Defender
22

23                                                        /s/ David M. Porter
                                                          DAVID M. PORTER
24                                                        Assistant Federal Defender
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       Case 1:05-cr-00112-DAD Document 118 Filed 03/30/15 Page 2 of 2


 1
                                                 ORDER
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            Pursuant to the request, and good cause appearing therefor, it is hereby ordered that the
 3
     response to the Court’s order of February 26, 2015, may be filed on or before April 27, 2015.
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 5   IT IS SO ORDERED.
 6   Dated: March 30, 2015
 7                                               SENIOR DISTRICT JUDGE

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